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Pla:mifr,

vs. NO. 04-20256-Mi

  
    
 

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JON PHIPPS Mcoiu;f'§'»;“
-'-»U`S. DISTRICT Ju.op'a

ll-

STEVEN MARCEL BlRCH,

  

Defendant. * _ _
GOVERNMENT’S MOT|ON TO CON'HNU`E.V‘-SE`NTENC|NG HEAR|NG

The United States by and through the United States Attorney forthe Western District
of Tennessee files this motion to continue the sentencing hearing currently set in this
matter for Wednesday, Ju|y 6, 2005, at 9:00 a.m. ln support of this motion counsel forth
United States would show:

1. Govern ment counsei has reviewed a copy of the position paper ti|ed by the
defendant The defendant raises several objections that, if uphe|d, will have an impact on
the sentencing guidetine calculations. |n order to adequately and effectively address the
defendants objections at the sentencing hearing, the government needs additional time
to issue and serve witness subpoenas, and prepare for the hearing.

2. Pursuant to Loca| Ruie LCr32.1(d) government counsel anticipates that the
sentencing hearing in this matter will exceed 30 minutes, and that evidence will be
presented through more than one witness

3. Government counsel has communicated with defense counsel regarding this

motion via telephone. Government counsel was advised by a representative of defense

This document entered on the docket sheet in compliance

with aura ss and/or 32(b) r-'norP on 7 ‘,Q'( 15 /57

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counse|’s oftice, that defense counsel had no opposition to this motionl and that if the
matter were not continued on the governments motion, defense counsel would be filing
a separate motion to continue due to a conflicting trial setting.

WHEREFORE PREMISES CONSIDERED, the United States respectfully requests
that the sentencing hearing in this matter be continued to a date certain for a period of at

least three weeks.

Respectfu||y submitted,

TERRELL L. HARRIS
United States Attorney

By: 4 - V
Carroi| L. Andre’ ili, # 0733
Assistant United States Attorney
167 N. iV|ain, Room 800
N|emphis, TN 38103
(901) 544-4231

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CERTIFICATE OF SERV|CE
|, Carro|i L. Andre’ li|, Assistant United States Attorney for the Western District of
Tennessee, hereby certify that a copy of the foregoing GOVERNMENT’S MOT|ON TO
CONTiNUE SENTENC|NG HEAR|NG has been mailed, first class postage prepaid, to iV|r.
i_esiie i. Bal|in, Attorney at Law, 200 Jefferson Avenue, Suite 1250, Memphis, TN 38103;
and, has been hand-delivered to Ms. Judy B. Palmer, United States Probation Ofiicer,

Third Fioor, Federa| Bui|ding, 167 N. iVlid-America Ma|i, Memphis, Tennessee 38103.

This Zd/"‘ day of§Z&& ,2005.
Z¢E M(__ z § , :_r-s
Carro|i L. Andre’ i|i

Assistant United States Attorney

   

UNITED `SATES DISTRICT COURT - W"'ERNT DSTCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 157 in
case 2:04-CR-20256 Was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

 

 

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Honorable J on MeCalla
US DISTRICT COURT

